        Case 6:10-cr-10178-JTM          Document 84       Filed 04/04/11      Page 1 of 6




                      IN THE UNITED STATES DISTRICT COURT FOR
                               THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                    )
                                             )
                       Plaintiff,            )
                                             )
       v.                                    )               Case No. 10-10178-05-WEB
                                             )
KASSIE LIEBSCH,                              )
                                             )
                     Defendant.              )


                                    MEMORANDUM AND ORDER

       The defendant Kassie Liebsch pled guilty to Conspiracy to Defraud the United States

through Wire Fraud, Tax Obstruction and Interstate Transportation of Stolen Property, in

violation of 18 U.S.C. § § 371 and 1343. She filed two objections to the Presentence Report, as

well as a sentencing memorandum (Doc. 74), which argued for a sentence of probation. The

court orally ruled on the objections and the request for a variance at the sentencing hearing of

March 30, 2011. This Memorandum and Order supplements the court’s oral ruling.

       Defendant’s first objection concerns the amount of money given to her by co-defendant

Rodney Jones. Defendant argues the amount cited in the Presentence Report, $299,271.00, is an

overstatement. The defendant does not dispute that under the relevant conduct guidelines, she is

responsible for the full $1,197,084 which Jones, she and others obtained from the ticket scheme,

nor does she challenge the Report’s calculation of the applicable guideline range. Insofar as the

amount she personally received and the resulting tax loss and restitution obligation to the IRS are

concerned, however, defendant argues that she only received approximately $100,000 and that

the correct tax loss should be 28% of that amount, or $28,000, instead of the $79,863.77 tax loss

                                                 1
        Case 6:10-cr-10178-JTM          Document 84        Filed 04/04/11      Page 2 of 6




estimated in the Presentence Report. Defendant concedes she does not have any financial

records to show the amount of money she received, but asserts that she reasonably believes it is

less than the amount in the Presentence Report. Defendant points out that the parties estimated

the amount to be $100,000 in her plea agreement.

       The Government’s response asserts that the defendant’s version of how much she

received has changed over time, and contends that Rodney Jones’ estimate of the amount is more

reliable. The Government contends the amount should be based on the figures provided by co-

defendant Jones, the total amount of tickets sold, and the percentage allegedly received by the

defendant.

       The amount of restitution must be based on actual loss. United States v. Quarrell, 310

F.3d 664, 680 (10th Cir. 2002). The restitution amount must be based on the defendant’s

conduct. United States v. Smith, 156 F.3d 1046, 1057 (10th Cir. 1998). In making a restitution

order, the court must make a reasonable estimate of the loss, given the information provided.

United State v. Gallant, 537 F.3d 1202, 1252 (10th Cir. 2008). The probation officer shall obtain

and include information in the presentence report “sufficient for the court to exercise its

discretion in fashioning a restitution order.” United States v. Barton, 366 F.3d 1160, 1165 (10th

Cir. 2004). Any dispute shall be resolved by the court by a preponderance of the evidence

standard. Id.

       The undisputed facts before the court show that the defendant was involved in the

conspiracy from 2005 to 2009. The total loss was over $2 million. Defendant received tickets

from Charlette Blubaugh and was instructed to give tickets to co-defendant Jones and Kirtland at

their request. Jones sold the tickets, and shared the proceeds with Kirtland and defendant. Jones


                                                 2
        Case 6:10-cr-10178-JTM           Document 84        Filed 04/04/11   Page 3 of 6




showed defendant how to convert the cash to money orders to avoid currency reporting

requirements.

       The court notes that the co-conspirators purposely concealed their actions and avoided

creating any records that would show precisely how much money they each received. The

defendant’s statement regarding how much money she received has changed over time. In the

court’s view, the information provided by Jones represents a more reliable estimate of the total

proceeds likely obtained by the defendant. The court concludes that amount of $299,271.00

accurately represents the amount of financial gain by the defendant and that the tax harm of

$79,863.77, as set forth in the presentence report, is correct.

       Defendant’s second objection concerns the failure of the Government to file a motion

under USSG § 5K1.1 on her behalf. Doc. 74 at 4. Defendant, citing the plea agreement and a

comment by the court at the time of the plea, argues the Government promised in the plea

agreement to file a § 5K1.1 motion. The Government’s response asserts that the defendant lied

to University of Kansas investigators about her involvement in the case, and that she was not

forthcoming with the Government in stating the amount of proceeds she received. Further, the

Government contends the defendant participated in a phone conference with various co-

defendants in which they discussed manipulating the ticket software system to cover up ticket

thefts. According to the Government, when confronted by the Government with this information

at her debriefing she initially denied being involved before admitting it was true. Defendant has

not challenged this assertion.

       The Government ordinarily has discretion to decide whether to file a 5K1.1 motion.

United States v. Courois, 131 F.3d 937, 938 (10th Cir. 1997). “Absent an unconstitutional


                                                  3
        Case 6:10-cr-10178-JTM         Document 84        Filed 04/04/11      Page 4 of 6




motive..., the prosecutor enjoys complete discretion in determining whether to file a substantial

assistance motion, and ... a claim seeking to compel a motion based on a defendant’s view of

what he or she deems to have been ‘substantial assistance’ will not be entertained.” United

States v. Massey, 997 F.2d 823, 824 (10th Cir. 1993). Section 5K1.1 “gives the government a

power, not a duty,” to file a motion for a downward departure when the defendant has provided

substantial assistance. Wade v. United States, 504 U.S. 181, 185 (1982).

       Defendant contends the Government promised in the plea agreement to file such a

motion. The specific language in the plea agreement controls this question. See Courois, 131

F.3d at 939. When the language leaves the discretion to the Government, failure to file a

downward departure does not breach the agreement. Id..

       The plea agreement between the parties included the following provisions:

               5. Government’s Agreements. In return for the defendant’s plea of guilty
       as set forth herein, the United States Attorney for the District of Kansas agrees:
               a. To not file any additional charges against the defendant arising out of
               the facts forming the basis for the present indictment;
               b. To file a motion pursuant to 5K1.1 of the guidelines reflecting the
               defendant’s substantial assistance in investigating and prosecuting her
               co- conspirators in this case.
                                ***
               7. Substantial Assistance. The defendant acknowledges that substantial
       assistance has not yet been provided by the defendant within the meaning of
       U.S.S.G. § 5K1.1 and Title 18, United States Code § 3553(e). The defendant also
       acknowledges and understands that the determination as to whether the defendant
       has provided substantial assistance and whether a motion pursuant to U.S.S.G. §
       5K1.1 will be filed are left entirely and exclusively within the discretion of the
       United States. If a determination is made by the United States the defendant has
       provided substantial assistance, the United States shall request that the Court
       consider reducing the sentence the defendant would otherwise receive under the
       applicable statutes and / or sentencing guidelines pursuant to Title 18, U.S.C. §
       3553(e), Title 28, U.S.C. § 994(n), and U.S.S.G. § 5K1.1.


       The two sections of the plea agreement, when read together, clearly reflect an

                                                4
        Case 6:10-cr-10178-JTM          Document 84        Filed 04/04/11      Page 5 of 6




understanding that the Government was retaining its discretion to determine whether to file a

5K1.1 motion. The Government clearly made no promise to the defendant that it would

necessarily file a motion, regardless of the defendant’s assistance or lack thereof following the

plea. In fact, the agreement recognized that as of the time of the plea, substantial assistance had

not yet been provided. Finally, the court notes that defendant does not contend that the

Government’s refusal to file a 5K1.1 motion was based on an unconstitutional motive. In sum,

the court concludes that the Government is not obligated to file a 5K1.1 motion in these

circumstances and the defendant is not entitled to a substantial assistance reduction in the

advisory guideline range.

       Defendant also filed a sentencing memorandum, based on the factors in 18 U.S.C. §

3553(a), seeking a variance to a sentence of probation. Defendant notes she has no criminal

history and argues that her personal characteristics show she is capable of conforming to rules

and regulations. Defendant argues that a sentence of imprisonment does not fit the crime and

that a sentence of probation will provide adequate deterrence to criminal conduct. Defendant

points out her clean record to show that the public is not at risk, and based on her education and

background, she does not require educational or vocational training or treatment. Finally,

defendant argues that a guideline sentence is greater than necessary to serve the purposes of

sentencing. The Government argues against a sentence of probation, arguing that the defendant

continued to conceal her involvement in the crime and only recently began to accept

responsibility for her crime.

       Under section 3553(a), the court is required to impose a sentence sufficient, but not

greater than necessary, to achieve the purposes of sentencing. After considering these factors,


                                                 5
        Case 6:10-cr-10178-JTM           Document 84        Filed 04/04/11      Page 6 of 6




the court concludes that a sentence of 37 months, at the low end of the advisory guideline range,

is an appropriate sentence in this case. Given the nature of the offense, including the extent of

the conspiracy and the defendant’s willing participation in it over an extended period of time, a

sentence of imprisonment rather than probation is warranted. The 37-month sentence is

necessary, in the court’s view, to reflect the seriousness of the offense, to provide just

punishment, to deter others, and to avoid unwarranted sentencing disparities with defendants

who have been convicted of similar offenses.

       Conclusion.

       Defendant’s objections to the Presentence Report and her request for a variance are

DENIED. IT IS SO ORDERED this 4th Day of April, 2011, at Wichita, Ks.


                                               s/Wesley E. Brown
                                               Wesley E. Brown
                                               U.S. Senior District Judge




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